Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 1 of 37 Page ID #:7




                          EXHIBIT A
                               20STCV42107
Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 2 of 37 Page ID #:8
          Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Dennis Landin




  1
        CENTER FOR DISABILITY ACCESS
  2     Raymond Ballister Jr., Esq., SBN 111282
        Russell Handy, Esq., SBN 195058
  3     Amanda Seabock, Esq., SBN 289900
        Zachary Best, Esq., SBN 166035
  4     Mail: 8033 Linda Vista Road, Suite 200
        San Diego, CA 92111
  5     (858) 375-7385; (888) 422-5191 fax
  6     amandas@potterhandy.com

  7     Attorneys for Plaintiff

  8
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
  9
                                   COUNTY OF LOS ANGELES
 10
11
           Orlando Garcia,                                              Case No.            20ST CV42 1
                                                                                                      - 07
12
                   Plaintiff,
 13                                                                    Complaint For Damages And
              v.                                                       Injunctive Relief For
14                                                                     Violations Of: Americans With
           Morning View Hotels-BH I, LLC,                              Disabilities Act; Unruh Civil
 15        a Delaware Limited Liability                                Rights Act
           Company; and Does 1-10,
 16
                   Defendants,
17
18
19
 20           Plaintiff Orlando Garcia complains of Morning View Hotels-BH I, LLC,
 21   a Delaware Limited Liability Company and Does 1-10 ("Defendants"), and
 22   alleges as follows:
 23
 24     PARTIES:
 25     1. Plaintiff is a California resident with physical disabilities. He is
 26   substantially limited in his ability to walk. He suffers from cerebral palsy. He
 27   has the use of only one arm. He uses a wheelchair, walker, or cane for mobility.
 28     2. Defendant Morning View Hotels-BH I owns and operates the Mr. C


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 1    Beverly Hills Hotel located at 1224 Beverwil Dr., Los Angeles, California,
  2   currently and at all times relevant to this complaint.
  3     3. Plaintiff does not know the true names of Defendants, their business
  4   capacities, their ownership connection to the property and business, or their
  5   relative responsibilities in causing the access violations herein complained of,
  6   and alleges a joint venture and common enterprise by all such Defendants.
  7   Plaintiff is informed and believes that each of the Defendants herein,
  8   including Does 1 through 10, inclusive, is responsible in some capacity for the
  9   events herein alleged, or is a necessary party for obtaining appropriate relief.
10    Plaintiff will seek leave to amend when the true names, capacities,
11    connections, and responsibilities of the Defendants and Does 1 through 10,
 12   inclusive, are ascertained.
 13
14      JURISDICTION:
15      4. This Court has subject matter jurisdiction over this action as a court of
16    general jurisdiction. This Court has personal jurisdiction over Defendants
 17   because they conduct substantial business in the State of California, County of
18    Los Angeles, and Defendant's offending Website is available throughout
19    California.
 20     5. Venue it proper in this Court because Defendant conducts business in
 21   this County.
 22     6. Unlimited jurisdiction is proper because Plaintiff seeks a permanent
 23   injunction ordering compliance with the Americans with Disabilities Act.
 24

 25     PRELIMINARY STATEMENT
 26     7. This is a lawsuit challenging the reservation policies and practices of a
 27   place of lodging. Plaintiff does not know if any physical or architectural
 28   barriers exist at the hotel and, therefore, is not claiming that that the hotel has


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  1   violated any construction-related accessibility standard. Instead, this is about
  2   the lack of information provided on the hotel's reservation website that would
  3   permit plaintiff to determine if there are rooms that would work for him.
  4      8. After decades of research and findings, Congress found that there was
  5   a "serious and pervasive social problem" in America: the "discriminatory
  6   effects" of communication barriers to persons with disability. The data was
  7   clear and embarrassing. Persons with disabilities were unable to "fully
  8   participate in all aspects of society," occupying "an inferior status in our
  9   society," often for no other reason than businesses, including hotels and
 10   motels, failed to provide information to disabled travelers. Thus, Congress
 11   decided "to invoke the sweep of congressional authority" and issue a "national
 12   mandate for the elimination of discrimination against individuals with
 13   disabilities," and to finally ensure that persons with disabilities have "equality
 14   of opportunity, full participation, independent living" and self-sufficiency.
 15      9. As part of that effort, Congress passed detailed and comprehensive
 16   regulations about the design of hotels and motels. But, as importantly,
 17   Congress recognized that the physical accessibility of a hotel or motel means
 18   little if the 61 million adults living in America with disabilities are unable to
 19   determine which hotels/motels are accessible and to reserve them. Thus,
 20   there is a legal mandate to provide a certain level of information to disabled
 21   travelers.
 22      10. But despite the rules and regulations regarding reservation procedures,
 23   a 2019 industry article noted that: "the hospitality sector has largely
 24   overlooked the importance of promoting accessible features to travelers."
 25      11. These issues are of paramount important. Persons with severe
 26   disabilities have modified their own residences to accommodate their unique
 27   needs and to ameliorate their physical limitations. But persons with disabilities
 28   are never more vulnerable than when leaving their own residences and having


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  1   to travel and stay at unknown places of lodging. They must be able to ascertain
  2   whether those places work for them.
  3
  4      FACTUAL ALLEGATIONS:
  5      12. Plaintiff planned on making a trip in December of 2020 to the Los
  6   Angeles, California, area.
  7      13. He chose the Mr. C Beverly Hills located at 1224 Beverwil Dr., Los
  8   Angeles, California because this hotel was at a desirable price and location.
  9      14. Plaintiff needs an accessible guestroom. He needs clearance around
 10   beds, he needs accessible restroom facilities including accessible sinks,
 11   accessible tubs or showers and accessible toilets. He needs sufficient
 12   maneuvering clearance in and around the guestroom. He needs accessories to
 13   be located within an accessible reach range. In short, he benefits from and
 14   needs compliant accessible guestroom features.
 15      15. Plaintiff went to the Mr. C Beverly Hills reservation website at
 16   https://www.mrchotels.com/mrcbeverlyhills/ seeking to book an accessible
 17   room at the San Diego location on October 26, 2020.
 18      16. Plaintiff found that there was little specific information about the
 19   accessibility of the rooms. For example, under the "Accessibility" tab, it
 20   mentions features such as: "Accessible public entrance", "Accessible food and
 21   beverage outlets", "Accessible swimming Pool", "Accessible concierge desk",
 22   "Roll-in shower," "Grab bar in shower, "Grab bar next to toilet seat", "Hand-
 23   held shower wand", "Low-level towel hooks and rack," "Low-level sink,
 24   peephole, and thermostat control", "All doorways wheelchair accessible", and
 25   "Balconies wheelchair accessible." These are vague and conclusory
 26   statements. Likewise, under the "ADA Deluxe" room, it states: "ADA King
 27   Bed" and "ADA Roll-in shower". These vague and conclusory statements offer
 28   little detail. For example, there is no specific information on whether the


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  1   desk/table in the room is accessible, if the or if the sink and toilet are
  2   accessible, or if the room has accessible clear floor space.
  3      17. The defendant's reservation system failed to identify and describe the
  4   accessible features in the guestroom chosen by the plaintiff in enough detail to
  5   reasonably permit him to assess independently whether the particular
  6   guestroom met his accessibility needs. The photos that accompany those
  7   rooms do not show any accessible features.
  8      18. This lack of information created difficulty for the plaintiff and the idea
  9   of trying to book this room -- essentially ignorant about its accessibility --
 10   caused discomfort for the Plaintiff.
 11      19. Plaintiff would like to patronize this hotel but is deterred from doing so
 12   because of the lack of detailed information through the hotel's reservation
 13   system. Plaintiff not only travels frequently but is always on the lookout for
 14   businesses that violate the law and discriminate against him and other persons
 15   with disabilities, intending to have them comply with the law and pay statutory
 16   penalties.
 17
 18   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 19   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
 20   Defendants.) (42 U.S.C. section 12101, et seq.)
 21      20. Plaintiff re-pleads and incorporates by reference, as if fully set forth
 22   again herein, the allegations contained in all prior paragraphs of this
 23   complaint.
 24      21. Under the ADA, it is an act of discrimination to fail to make reasonable
 25   modifications in policies, practices, or procedures when such modifications
 26   are necessary to afford goods, services, facilities, privileges advantages or
 27   accommodations to person with disabilities unless the entity can demonstrate
 28   that taking such steps would fundamentally alter the nature of the those goods,


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      Complaint
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  1   services, facilities, privileges advantages or accommodations. See 42 U.S.C. §
  2   12182 (B) (2) (A) (ii).
  3      22. Specifically, with respect to reservations by places of lodging, a
  4    defendant must ensure that its reservation system, including reservations
  5    made by "any means," including by third parties, shall:
  6                      a. Ensure that individuals with disabilities can make
  7                             reservations for accessible guest rooms during the same
  8                             hours and in the same manner as individuals who do not
  9                             need accessible rooms;
 10                      b. Identify and describe accessible features in the hotels and
 11                             guest rooms offered through its reservations service in
 12                             enough detail to reasonably permit individuals with
 13                             disabilities to assess independently whether a given hotel
 14                             or guest room meets his or her accessibility needs; and
 15                      c. Reserve, upon request, accessible guest rooms or specific
 16                             types of guest rooms and ensure that the guest rooms
 17                             requested are blocked and removed from all reservations
 18                             systems.
 19              See 28 C.F.R. § 36.302(e).
 20      23. Here, the defendant failed to modify its reservation policies and
 21    procedures to ensure that it identified and described accessible features in the
 22    hotels and guest rooms in enough detail to reasonably permit individuals with
 23    disabilities to assess independently whether a given hotel or guest room meets
 24    his or her accessibility needs and failed to ensure that individuals with
 25    disabilities can make reservations for accessible guest rooms during the same
 26    hours and in the same manner as individuals who do not need accessible
 27    rooms.
 28


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       Complaint
Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 8 of 37 Page ID #:14




  1    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
  2    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
  3    Code 5 51-53.)
  4      24. Plaintiff repleads and incorporates by reference, as if fully set forth
  5    again herein, the allegations contained in all prior paragraphs of this
  6    complaint. The Unruh Civil Rights Act ("Unruh Act") guarantees, inter alia,
  7    that persons with disabilities are entitled to full and equal accommodations,
  8    advantages, facilities, privileges, or services in all business establishment of
  9    every kind whatsoever within the jurisdiction of the State of California. Cal.
 10    Civ. Code §51(b).
 11      25. The Unruh Act provides that a violation of the ADA is a violation of the
 12    Unruh Act. Cal. Civ. Code, § 51(f).
 13      26. Defendants' acts and omissions, as herein alleged, have violated the
 14    Unruh Act by, inter alia, failing to comply with the ADA with respect to its
 15    reservation policies and practices.
 16      27. Because the violation of the Unruh Civil Rights Act resulted in difficulty
 17    and discomfort for the plaintiff, the defendants are also each responsible for
 18    statutory damages, i.e., a civil penalty. See Civ. Code § 52(a).
 19
 20           PRAYER:
 21           Wherefore, Plaintiff prays that this Court award damages and provide
 22    relief as follows:
 23        1. For injunctive relief, compelling Defendants to comply with the
 24    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
 25    plaintiff is not invoking section 55 of the California Civil Code and is not
 26    seeking injunctive relief under the Disabled Persons Act at all.
 27        2. Damages under the Unruh Civil Rights Act, which provides for actual
 28    damages and a statutory minimum of $4,000 for each offense.


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       Complaint
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  1       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
  2   to 42 U.S.C. § 12205; and Cal. Civ. Code § 52(a).
  3
  4
  5   Dated: November 2,2020                  CENTER FOR DISABILTY ACCESS
  6
  7
  8
  9                                           By:
 10                                           Russell Handy, Esq.
                                              Attorneys for Plaintiff
 11
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      Complaint
ctronically FILED by Superior Court of California, County of Los Angeles on 11/03/20y0M:Ev%,pdlyrri R. Carter. Executive Officer/Clerk of Court, by R. Perez.Deputy Clerk
                Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 10 of 37 Page ID #:16
                                      SUMMONS                                                           sum-wo
                                                                                   FOR COURT USE ONLY
                                 (CITACION JUDICIAL)                           (SOLO PARA USO DE LA CORTE)

       NOV,CE TO DEFENDANT:
       (AVISO AL DEMANDADO):
       Morning View Hotels-BH I, LLC, a Delaware Limited Liability
       Company; and Does 1-10,
       YOU ARE BEING SUED BY PLAINTIFF:
       (LO ESTA DEMANDANDO EL DEMANDANTE):
       Orlando Garcia
       NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
       below.
         You have 30 CALENDER DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy served
       on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your case.
       There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts Online
       Self-Help Center (www.courtinfo.ca.goviselfhelp) your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the court
       clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may be
       taken without further warning from the court.
          There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
       referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
       these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.orq). the California Courts Online Self-Help Center
       (www.courtinfo.cacroviselfhels), or by contacting your local court or county bar association. NOTE: The court has a statutory Hen for waived fees and
       costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
       [AVISO! Lo han demandado. Si no responde dentro de 30 dias, la code puede decider en su contra sin escuchar su version. Lea la information a
       continuation.
         Tiene 30 DIAS DE CALENDARIO despues de que le entrguan esta citation y papeles legales para presentar una respuesta por escrito en esta corte y
       hater que se entrgue una copia al demandante. Una carta o una Ilamada telefonica no lo protegen. Su respuesta por escrito tine que estar en formato
       legal correcto si desea que procesen su caso an la code. Es possible que haya un formulario que usted pueda usar para su respuesta. Puede
       encontrar estos formularios de la corte y mas information en al Centro de Ayuda de las Cortes de California (www.courtinfo.ca.qoviselfhelp/espanol/)
       en la biblioteca de leyes de su condado o en la code que le quede mas cerca. Si no puede pagar la cuota de presentation, pida al secretario de la
       code que le de un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte
       le podra guitar su sueldo, dinero y bienes sin mas advertencia.
         Hay otros requisitos legales. Es recommendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio
       de remission a abogados. Si no puede pagar a un abogado, es possible que cumpla con los requisitos para obtener servivios legals gratuitos de un
       programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
       (www.lawhelpcalifornia.orq) en el Centro de Ayuda de las Cortes de California, (www.courtinfo.ca.qoviselfhelp.espanolt) or poniendose en contacto con
       la code o el colegio de abogados locales. AVISO: Por ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen
       sobre cualquier recuperation de $10,000 o mas de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiene
       que pager el gravamen de la code antes de que la corte pueda desechar el caso.

       The name and address of the court is: Superior Court in and for the County of Los Angeles                               CASE NUMBER:
                                                                                                                              (Numero del Caso)
       (El nombre y direction de la corte es):
                                                                                                                                  2 0 al - CV 4 21 0 7
       111 North Hill Street
       Los Angeles, CA 90012,
       Stanley Mosk Courthouse.
       The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
       (El nombre, la direction y el numero del telefono del abogado del demandante, o del demandante que no tine abogado, es):

       Russell Handy., Center for Disability Access, 8033 Linda Vista Road, Suite 200 San Diego, CA 92111
       (858) 375-7385                                  Officer! Clerk of Court
                                                 Sherri R. Carter Executive

       DATE: 1110312020                               Clerk, by                                 R. Perez                                                              , Deputy
       (Fecha)                                        (Secretario)                                                                                                    (Adjunto)
       (For Proof of service of this summons, use Proof of Service of Summons (form POS-010).)
       (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010).)
                                          NOTICE TO THE PERSON SERVED: You are served
           [Seal]                         1. ❑ as an individual defendant.
                                          2. ❑ as the person sued under the fictitious name of (specify):



                                                  3.  ❑ on behalf of (specify):
                                                   under: ❑ CCP 416.10 (corporation)                 ❑ CCP 416.60 (minor)
                                                          ❑ CCP 416.20 (defunct corporation)         ❑ CCP 416.70 (conservatee)
                                                          ❑  CCP 416.40 (association or partnership) ❑ CCP 416.90 (authorized person)
                                                          ❑ Other (specify):
                                                  4. ❑ by personal delivery on (date):
                                                                                                                                                                           Page 1 of 1

       Form Adopted for Mandatory Use                                          SUMMONS                                                            Code of Civil Procedure §§ 412.20. 465
          Judicial Council of California                                                                                                                           vintwcourfinfo.cagov
          SUM-100 [Rev. July 1. 2009)
ctronically FILED by Superior Court of California, County of Los Angeles on 11/03/200nAitfilriprri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Cleok.
                Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 11 of 37 Page ID #:17UM-010
          ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                       FOR COURT USE ONLY
       — Russell Handy, Esq., SBN 195058
         Center for Disability Access
         Mail: 8033 Linda Vista Road, Suite 200 San Diego, CA 92111
         Ddivery: 8033 Linda Vista Road, Suite 200 San Diego, CA 92111
              TELEPHONE NO.: (858) 375-7385             FAX NO.: (888) 422-5191
        ATTORNEY FOR (Name): r laintiff, Orlando Garcia
       SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
            STREET ADDRESS: 111 North Hill Street
            MAILING ADDRESS:   1 11 North Hill Street
           CITY AND ZIP CODE:  Los Angeles, CA 90012
               BRANCH NAME:    Stanley Mosk Courthouse
           CASE NAME:
                            Garcia v. Morning View Hotels-BH I, LLC.
                                                                                                  CASE NUMBER:
             CIVIL CASE COVER SHEET                            Complex Case Designation
         ,,/ Unlimited              Limited
                                                                Counter           I Joinder
                                                                                                     2 OST CV 4 21 0                                                         7
              (Amount               (Amount
                                                                                                  JUDGE:
              demanded              demanded is          Filed with first appearance by defendant
              exceeds $25,000)      $25,000 or less)          (Cal. Rules of Court, rule 3.402)    DEPT:

                                       Items 1-6 below must be completed (see instructions on page 2)
            Check one box below for the case type that best describes this case:
            Auto Tort                                           Contract                                       Provisionally Complex Civil Litigation
                   Auto (22)                                          Breach of contract/warranty (06)         (Cal. Rules of Court, rules 3.400-3.403)
                   Uninsured motorist (46)                              Rule 3.740 collections (09)                   Antitrust/Trade regulation (03)
           Other PI/PD/WD (Personal Injury/Property                     Other collections (09)                        Construction defect (10)
           Damage/Wrongful Death) Tort                                  Insurance coverage (18)                       Mass tort (40)
                 Asbestos (04)                                        Other contract (37)                             Securities litigation (28)
                   Product liability (24)                       Real Property                                         Environmental/Toxic tort (30)
                   Medical malpractice (45)                             Eminent domain/Inverse                        Insurance coverage claims arising from the
                 Other Pl/PDAND (23)                                    condemnation (14)                             above listed provisionally complex case
                                                                        Wrongful eviction (33)                        types (41)
            Non-PI/PD/WD (Other) Tort
                   Business tort/unfair business practice (07)      Other real property (26)                   Enforcement of Judgment
             ✓     Civil rights (08)                           Unlawful Detainer                                      Enforcement of judgment (20)
                   Defamation (13)                                  Commercial (31)                            Miscellaneous Civil Complaint
                   Fraud (16)                                           Residential (32)                              RICO (27)
                   Intellectual property (19)                           Drugs (38)                                  I Other complaint (not specified above) (42)
                   Professional negligence (25)                 Judicial Review                                Miscellaneous Civil Petition
                Other non-Pl/PDNVD tort (35)                          Asset forfeiture (05)
                                                                                                                      Partnership and corporate governance (21)
           Employment                                                   Petition re: arbitration award (11)
                                                                                                                      Other petition (not specified above) (43)
                Wrongful termination (36)                               Writ of mandate (02)
                   Other employment (15)                                Other judicial review (39)
      2. This case         is     v is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
         factors requiring exceptional judicial management:
            a.          Large number of separately represented parties               d.       Large number of witnesses
            b.          Extensive motion practice raising difficult or novel         e.       Coordination with related actions pending in one or more courts
                        issues that will be time-consuming to resolve                         in other counties, states, or countries, or in a federal court
            c.      J   Substantial amount of documentary evidence                   f. I   I Substantial postjudgment judicial supervision

      3.    Remedies sought (check all that apply): a. ✓ monetary b. I            nonmonetary; declaratory or injunctive relief                              c.        punitive
      4.    Number of causes of action (specify): 2: Americans with Disabilities Act, Unruh Civil Rights Act
      5.    This case         is    ✓ is not a class action suit.
      6.    If there are any known related cases, file and serve a notice of related case. (You may use form-cM-015.)
       Date: 11/2/2020
       Russel Handy, Esq.
                                        (TYPE OR PRINT NAME)                                                  (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)

                                                                            NOTICE
        • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
          under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
          in sanctions.
        • File this cover sheet in addition to any cover sheet required by local court rule.
        • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
          other parties to the action or proceeding.
        • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                         Page 1 of 2
      Form Adopted for Mandatory Use                                                                                      Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
        Judicial Council of Califomia                           CIVIL CASE COVER SHEET                                            Cal. Standards of Judicial Administration, std. 3.10
         CM-010 [Rev. July 1, 2007]                                                                                                                             www_courtinfo.cagov
         Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 12 of 37 Page ID #:18
                                                                                                                                     CM-010
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property             Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
          Damage, Wrongful Death                         Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                             or wrongful eviction)                   Claims Involving Mass Tort (40)
          motorist claim subject to                      ContractNVarranty Breach—Seller                 Securities Litigation (28)
                                                              Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          arbitration. check this item
          instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
                                                              Warranty                                        (arising from provisionally complex
Other PI/PD/WD (Personal Injury/
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                    case type listed above) (41)
                                                    Collections (e.g., money owed, open              Enforcement of Judgment
Tort
                                                         book accounts) (09)                             Enforcement of Judgment (20)
     Asbestos (04)
                                                         Collection Case—Seller Plaintiff                     Abstract of Judgment (Out of
          Asbestos Property Damage                                                                                  County)
          Asbestos Personal Injury/                      Other Promissory Note/Collections
                                                              Case                                            Confession of Judgment (non-
                Wrongful Death
                                                    Insurance Coverage (not provisionally                           domestic relations)
     Product Liability (not asbestos or
          toxic/environmental) (24)                      complex) (18)                                        Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                     Administrative Agency Award
                                                         Other Coverage                                           (not unpaid taxes)
          Medical Malpractice—
                                                    Other Contract (37)                                       Petition/Certification of Entry of
                Physicians & Surgeons
                                                                                                                  Judgment on Unpaid Taxes
          Other Professional Health Care                 Contractual Fraud
                                                         Other Contract Dispute                               Other Enforcement of Judgment
                Malpractice                                                                                         Case
     Other PI/PD/WD (23)                         Real Property
                                                    Eminent Domain/Inverse                           Miscellaneous Civil Complaint
          Premises Liability (e.g., slip                                                                 RICO (27)
                and fall)                                Condemnation (14)
                                                    Wrongful Eviction (33)                               Other Complaint (not specified
          Intentional Bodily Injury/PD/WD                                                                     above) (42)
                (e.g., assault, vandalism)          Other Real Property (e.g., quiet title) (26)              Declaratory Relief Only
          Intentional Infliction of                      Writ of Possession of Real Property                  Injunctive Relief Only (non-
                Emotional Distress                       Mortgage Foreclosure                                       harassment)
          Negligent Infliction of                        Quiet Title                                          Mechanics Lien
                Emotional Distress                       Other Real Property (not eminent                     Other Commercial Complaint
          Other PUPDNVD                                  domain, landlord/tenant, or                                Case (non-tort/non-complex)
Non•PI/PD/WD (Other) Tort                                foreclosure)                                         Other Civil Complaint
     Business Tod/Unfair Business                Unlawful Detainer                                                 (non-tort/non-complex)
         Practice (07)                              Commercial (31)                                  Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination.            Residential (32)                                     Partnership and Corporate
         false arrest) (not civil                   Drugs (38) (if the case involves illegal                  Governance (21)
          harassment) (08)                               drugs, check this item; otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)                 above) (43)
           (13)                                  Judicial Review                                              Civil Harassment
     Fraud (16)                                     Asset Forfeiture (05)                                     Workplace Violence
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                       Elder/Dependent Adult
     Professional Negligence (25)                    Writ of Mandate (02)                                           Abuse
         Legal Malpractice                               Writ—Administrative Mandamus                         Election Contest
         Other Professional Malpractice                  Writ—Mandamus on Limited Court                       Petition for Name Change
              (not medical or legal)                         Case Matter                                      Petition for Relief From Late
      Other Non-PIIPDIWD Tort (35)                       Writ—Other Limited Court Case                              Claim
Employment                                                   Review                                           Other Civil Petition
     Wrongful Termination (36)                      Other Judicial Review (39)
     Other Employment (15)                               Review of Health Officer Order
                                                         Notice of Appeal—Labor
                                                             Commissioner Appeals
                                                                                                                                         Page 2 of 2
CM-010 [Rey. July 1. 20071
                                                     CIVIL CASE COVER SHEET
          Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 13 of 37 Page ID #:19
SHORT TITLE:                                                                                           CASE NUMBER
                 Garcia v. Morning View Hotels-BH 1, LLC.


                              CIVIL CASE COVER SHEET ADDENDUM AND
                                      STATEMENT OF LOCATION
               (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
          This form is required pursuant to Local Rule 2.0 in all new civil case filings in the Los Angeles Superior Court.

 Item I. Check the types of hearing and fill in the estimated length of hearing expected for this case:
   JURY TRIAL?              YES CLASS ACTION?               YES LIMITED CASE?             YES      TIME ESTIMATED FOR TRIAL 3-5          E HOURS/          DAYS

 Item II. Indicate the correct district and courthouse location (4 steps — If you checked "Limited Case", skip to Item III, Pg. 4):


   Step 1: After first completing the Civil Case Cover Sheet form, find the main Civil Case Cover Sheet heading for your
   case in the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case type you selected.


   Step 2: Check one Superior Court type of action in Column B below which best describes the nature of this case.

   Step 3: In Column C, circle the reason for the court location choice that applies to the type of action you have
   checked. For any exception to the court location, see Local Rule 2.0.

                            Applicable Reasons for Choosing Courthouse Location (see Column C below)

     1.   Class actions must be filed in the Stanley Mosk Courthouse, central district.       6.   Location of property or permanently ga aged vehicle.
     2.   May be filed in central (other county, or no bodily injury/property damage).        7.   Location where petitioner resides.
     3.   Location where cause of action arose.                                               8.   Location wherein defendant/respondent functions wholly.
     4.   Location where bodily injury, death or damage occurred.                             9.   Location where one or more of the part es reside.
     5.   Location where performance required or defendant resides.                          10.   Location of Labor Commissioner Office



   Step 4: Fill in the information requested on page 4 in Item III; complete Item IV. Sign the declaration.


                              A                                                             B                                                          C
                    Civil Case Cover Sheet                                           Type of Action                                       Applicable Reasons -
                          Category No.                                              (Check only one)                                       See Step 3 Above


  o--                      Auto (22)              0   A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death
  5 0
    1--
                   Uninsured Motorist (46)        ID A7110 Personal Injury/Property DamageNVrongful Death — Uninsured Motorist            1., 2., 4.


                                                  0   A6070 Asbestos Property Damage                                                      2.
                        Asbestos (04)
                                                  0   A7221 Asbestos - Personal InjuryANrongful Death                                    2.


                     Product Liability (24)       0   A7260 Product Liability (not asbestos or toxic/environmental)

                                                  0   A7210 Medical Malpractice - Physicians & Surgeons
                   Medical Malpractice (45)
                                                  0   A7240 Other Professional Health Care Malpractice

                                                  0   A7250 Premises Liability (e.g., slip and fall)                                      1 4
                           Other
                       Personal Injury            0   A7230 Intentional Bodily Injury/Property Damagefl/Vrongful Death (e.g.,
                      Property Damage                       assault, vandalism, etc.)
                       Wrongful Death                                                                                                    1., 3.
                                                  ID A7270 Intentional Infliction of Emotional Distress
                            (23)
                                                  0   A7220 Other Personal InjurylProperty Damage/Wrongful Death



LACIV 109 (Rev. 03/11)                         CIVIL CASE COVER SHEET ADDENDUM                                                        Local Rule 2.0
LASC Approved 03-04                               AND STATEMENT OF LOCATION                                                              Page 1 of 4
                         Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 14 of 37 Page ID #:20
SHORT TITLE:                                                                                                  CASE NUMBER
                             Garcia v. Morning View Hotels-BH 1, LLC.

                                         A                                                            B                                                     C
                               Civil Case Cover Sheet                                           Type of Action                                 Applicable Reasons -
                                     Category No.                                              (Check only one)                                 See Step 3 Above

                                 Business Tort (07)          0   A6029 Other Commercial/Business Tort (not fraud/breach of contract)

                                  Civil Rights (08)         I2 A6005 Civil Rights/Discrimination

                                  Defamation (13)            0   A6010 Defamation (slander/libel)


                                     Fraud (16)              0   A6013 Fraud (no contract)


                                                             0   A6017 Legal Malpractice
                            Professional Negligence (25)
                                                             0   A6050 Other Professional Malpractice (not medical or legal)


                                     Other (35)              0   A6025 Other Non-Personal Injury/Property Damage tort

                             Wrongful Termination (36)       0   A6037 Wrongful Termination
        E
                                                             0   A6024 Other Employment Complaint Case
    a                          Other Employment (15)
    E                                                        0   A6109 Labor Commissioner Appeals                                              10.
    UJ

                                                             0   A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                       eviction)
                            Breach of Contract/ Warranty
                                        (06)                 0   A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                  (not insurance)                                                                                              1., 2., 5.
                                                             0   A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                               1., 2., 5.
                                                             0   A6028 Other Breach of Contract/Warranty (not fraud or negligence)

     0
     to                                                      0   A6002 Collections Case-Seller Plaintiff
                                  Collections (09)
     0                                                       0   A6012 Other Promissory Note/Collections Case                                  2., 5.
     0

                              Insurance Coverage (18)        0   A6015 Insurance Coverage (not complex)

                                                             0   A6009 Contractual Fraud
                                 Other Contract (37)         0   A6031 Tortious Interference
                                                             0   A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)

                              Eminent Domain/Inverse                                                              Number of parcels            2.
                                                             E A7300 Eminent Domain/Condemnation
                                Condemnation (14)

                               Wrongful Eviction (33)        0   A6023 Wrongful Eviction Case

                                                             0   A6018 Mortgage Foreclosure
                              Other Real Property (26)       0   A6032 Quiet Title
                                                             El A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)   2., 6.

                            Unlawful Detainer-Commercial
                                                             0   A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)
                                        (31)
     Unlawful Detainer




                            Unlawful Detainer-Residential
                                                             0   A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)
                                        (32)

                                Unlawful Detainer-
                                                             0   A60206 Unlawful Detainer-Post-Foreclosure
                               Post-Foreclosure (34)

                            Unlawful Detainer-Drugs (38)     0   A6022 Unlawful Detainer-Drugs



 LACIV 109 (Rev. 03/11)                                     CIVIL CASE COVER SHEET ADDENDUM                                                 Local Rule 2.0
 LASC Approved 03-04                                           AND STATEMENT OF LOCATION                                                       Page 2 of 4
                                       Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 15 of 37 Page ID #:21
SHORT TITLE:                                                                                                                 CASE NUMBER
                                           Garcia v. Morning View Hotels-BH I, LLC.

                                                        A                                                            B                                           C
                                             Civil Case Cover Sheet                                            Type of Action                        Applicable Reasons -
                                                   Category No.                                               (Check only one)                        See Step 3 Above

                                               Asset Forfeiture (05)         D A6108 Asset Forfeiture Case
    Judicial Review




                                            Petition re Arbitration (11)     0   A6115 Petition to Compel/Confirm/Vacate Arbitration

                                                                             0   A6151 Writ - Administrative Mandamus
                                               Writ of Mandate (02)          0   A6152 Writ - Mandamus on Limited Court Case Matter                 2.

                                                                             0   A6153 Writ - Other Limited Court Case Review                        2.


                                            Other Judicial Review (39)       0   A6150 Other Writ /Judicial Review                                  2., 8.


                                          Antitrust/Trade Regulation (03)    0   A6003 Antitrust/Trade Regulation
    Provisionally Complex Litigation




                                             Construction Defect (10)        0   A6007 Construction Defect

                                           Claims Involving Mass Tort
                                                                             0   A6006 Claims Involving Mass Tort
                                                      (40)

                                             Securities Litigation (28)      0   A6035 Securities Litigation Case

                                                   Toxic Tort
                                                                             0   A6036 Toxic Tort/Environmental
                                               Environmental (30)

                                           Insurance Coverage Claims
                                                                             0   A6014 Insurance Coverage/Subrogation (complex case only)
                                             from Complex Case (41)

                                                                             0   A6141 Sister State Judgment                                        2., 9.
                                                                             0   A6160 Abstract of Judgment                                         2 6.
   E
   E E                                                                       0   A6107 Confession of Judgment (non-domestic relations)              2., 9.
     C51                                          Enforcement
   o                                            of Judgment (20)
   les 2,                                                                    0   A6140 Administrative Agency Award (not unpaid taxes)               2., 8.
   c 0
  la,                                                                                                                                               2., 8.
                                                                             0   A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax
                                                                             0   A6112 Other Enforcement of Judgment Case                           2 8.. 9.


                                                    RICO (27)                0   A6033 Racketeering (RICO) Case

                                                                             D A6030 Declaratory Relief Only

                                                Other Complaints             D A6040 Injunctive Relief Only (not domestic/harassment)
                                            (Not Specified Above) (42)       0   A6011 Other Commercial Complaint Case (non-torUnon-complex)
                                                                             0   A6000 Other Civil Complaint (non-tort/non-complex)

                                             Partnership Corporation                                                                                2., 8.
                                                                             0   A6113 Partnership and Corporate Governance Case
                                                Governance (21)

                                                                             D A6121 Civil Harassment                                               2., 3., 9.
                              0,
   o                                                                                                                                                2 3 9.
                                                                             D A6123 Workplace Harassment
                                                                             0   A6124 Elder/Dependent Adult Abuse Case                             2 3., 9.
                                                 Other Petitions
                             >                (Not Specified Above)          0   A6190 Election Contest                                             2.
                                                      (43)
                                                                             D A6110 Petition for Change of Name                                    2 7.

                                                                             D A6170 Petition for Relief from Late Claim Law                        2 3., 4., 8.

                                                                             0   A6100 Other Civil Petition                                         2 9.




 LACIV 109 (Rev. 03/11)                                                     CIVIL CASE COVER SHEET ADDENDUM                                       Local Rule 2.0
 LASC Approved 03-04                                                           AND STATEMENT OF LOCATION                                            Page 3 of 4
          Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 16 of 37 Page ID #:22
SHORT TITLE:                                                                              CASE NUMBER
                Garcia v. Morning View Hotels-BH I, LLC.


 Item III. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or other
 circumstance indicated in Item n., Step 3 on Page 1, as the proper reason for filing in the court location you selected.

                                                                     ADDRESS:
  REASON: Check the appropriate boxes for the numbers shown
  under Column C for the type of action that you have selected for     1224 Beverwil Dr.
  this case.


          1111. [12. E3. D4. D5. D6. D7. D8. D9. D10.

  CITY.                                    STATE:     I ZIP CODE:


                  LOS ANGELES              CA           90035

 Item IV. Declaration of Assignment: I declare under penalty of perjury under the laws of the State of California that the foregoing is true
   and correct and that the above-entitled matter is properly filed for assignment to the Stanley Mosk                   courthouse in the
  Central                  District of the Superior Court of California, County of Los Angeles [Code Civ. Proc., § 392 et seq., and Local
 Rule 2.0, subds. (b), (c) and (d)].



   Dated: 11/2/2020
                                                                                      (SIGNATURE OF ATTORNEY/FILING PARTY)




 PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
 COMMENCE YOUR NEW COURT CASE:

      1. Original Complaint or Petition.
      2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
      3. Civil Case Cover Sheet, Judicial Council form CM-010.

      4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
         03/11).

      5. Payment in full of the filing fee, unless fees have been waived.

      6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
         minor under 18 years of age will be required by Court in order to issue a summons.

      7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
         must be served along with the summons and complaint, or other initiating pleading in the case.




LACIV 109 (Rev. 03/11)                   CIVIL CASE COVER SHEET ADDENDUM                                                Local Rule 2.0
LASC Approved 03-04                         AND STATEMENT OF LOCATION                                                     Page 4 of 4
        Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 17 of 37 Page ID #:23
                                                                                                    Reserved for Clerk's File Stamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                                          FILED
 Stanley Mosk Courthouse                                                                           Superior Court of California
                                                                                                     COuntyof LosAngeles
 111 North Hill Street, Los Angeles, CA 90012
                                                                                                          11/03)2020
                                                                                                                                   Cer!<C1'iCiat
                   NOTICE OF CASE ASSIGNMENT                                                        Ceti& irtAree.r.kaa tatzieer

                                                                                                               R. Perez               1..iWJAV
                          UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   20STCV42107

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                    ASSIGNED JUDGE                          DEPT            ROOM

   vi    Dennis J. Landin                   51




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 11/04/2020                                                         By R. Perez                                               . Deputy Clerk
                 (Dale)

LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
       Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 18 of 37 Page ID #:24
                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The fallowing critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January I, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the fi ling of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely fi led and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 19 of 37 Page ID #:25
                                                                                                    2019-GEN-014-00

                                                                                      FILED
                                                                               Superior Court of California
 1                                                                               County of Los Angeles

 2                                                                                   MAY 03 2019
                                                                         Sherri                five Oftleer/Clerk
 3
                                                                          BY                           MgPah
 4                                                                                         a Mine

 5
                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
 6
                                   FOR THE COUNTY OF LOS ANGELES
 7
 8   IN RE LOS ANGELES SUPERIOR COURT)                  FIRST AMENDED GENERAL ORDER
     — MANDATORY ELEC IRONIC FILING )
 9   FOR CIVIL
10

11

12          On December 3, 20I8, the Los Angeles County Superior Court mandated electronic filing of all
13   documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
15   Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
16   All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
17   following:

18   1) DEFINITIONS

19      a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to
20          quickly locate and navigate to a designated point of interest within a document.
21      b) "Efiling Portal" The official court website includes a webpage, referred to as the efiling
22          portal, that gives litigants access to the approved Electronic Filing Service Providers.
23      c) "Electronic Envelope" A transaction through the electronic service provider for submission
24          of documents to the Court for processing which may contain one or more PDF documents
25          attached.
26      d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a
27          document in electronic form. (California Rules of Court, rule 2.250(b)(7).)
28


                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
 Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 20 of 37 Page ID #:26
                                                                                              2019-GEN-014-00




       e) "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a
2         person or entity that receives an electronic filing from a party for retransmission to the Court.
3         In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
4         agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
5      f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
6         Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
7         (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
8         2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
 9        process attached to or logically associated with an electronic record and executed or adopted
10        by a person with the intent to sign the electronic record.
11     g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12        in a hypertext or hypermedia document to another in the same or different document.
13     h) "Portable Document Format" A digital document format that preserves all fonts,
14        formatting, colors and graphics of the original source document, regardless of the application
15        platform used.
16   2) MANDATORY ELEC.. IRONIC FILING
17     a) Trial Court Records
18        Pursuant to Government Code section 68150, trial court records may be created, maintained,
19        and preserved in electronic format. Any document that the Court receives electronically must
20        be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21        official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22     b) Represented Litigants
23        Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24        electronically file documents with the Court through an approved EFSP.
25     c) Public Notice
26        The Court has issued a Public Notice with effective dates the Court required parties to
27        electronically file documents through one or more approved EFSPs. Public Notices containing
28        effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.ora.

                                                      2
                     FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
 Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 21 of 37 Page ID #:27
                                                                                                  2019-GEN-014-00



 1        d) Documents in Related Cases
 2           Documents in related cases must be electronically filed in the eFiling portal for that case type if
 3           electronic filing has been implemented in that case type, regardless of whether the case has
 4           been related to a Civil case.
 5   3) EXEMPT LITIGANTS
 6        a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
 7           from mandatory electronic filing requirements.

          b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
 9           Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10           from filing documents electronically and be permitted to file documents by conventional
11           means if the party shows undue hardship or significant prejudice.
12   4) EXEMPT FILINGS
13        a) The following documents shall not be filed electronically:
14           i)     Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                  Civil Procedure sections I70.6 or 170.3;
16           ii)    Bonds/Undertaking documents;
17           iii)   Trial and Evidentiary Hearing Exhibits
18           iv)    Any ex parte application that is filed concurrently with a new complaint including those
19                  that will be handled by a Writs and Receivers department in the Mosk courthouse; and
20           v)     Documents submitted conditionally under seal. The actual motion or application shall be
21                  electronically filed. A courtesy copy of the electronically filed motion or application to
22                  submit documents conditionally under seal must be provided with the documents
23                  submitted conditionally under seal.
24        b) Lodgments
25           Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
26   paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.
27   //
28   //

                                                         3
                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                                                                              20194EN-014-00




1    5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES

2      Electronic filing service providers must obtain and manage registration information for persons
3      and entities electronically filing with the court.
4    6) TECHNICAL REQUIREMENTS

5      a) Electronic documents must be electronically filed in PDF, text searchable format when
6          technologically feasible without impairment of the document's image.
7      b) The table of contents for any filing must be bookmarked.
8      c) Electronic documents, including but not limited to, declarations, proofs of service, and
9          exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
10         3.1110(f)(4). Electronic bookmarks must include links to the first page of each bookmarked
11         item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12         bookedmarked item and briefly describe the item.
13     d) Attachments to primary documents must be bookmarked. Examples include, but are not
14         limited to, the following:
15         i)     Depositions;
16         ii)    Declarations;
17         iii)   Exhibits (including exhibits to declarations);
18         iv)    Transcripts (including excerpts within transcripts);
19         v)     Points and Authorities;
20         vi)    Citations; and
21         vii) Supporting Briefs.
22     e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23         encouraged.
24     0 Accompanying Documents
25         Each document acompanying a single pleading must be electronically filed as a separate
26         digital PDF document.
27     g) Multiple Documents
28         Multiple documents relating to one case can be uploaded in one envelope transaction.

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                       FIRST AMENDED GENERAL ORDER RE MANDATORY Ft ECTRONIC FILING FOR CIVIL
 Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 23 of 37 Page ID #:29
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1      h) Writs and Abstracts
2         Writs and Abstracts must be submitted as a separate electronic envelope.
3      i) Sealed Documents
4         If and when a judicial officer orders documents to be filed under seal, those documents must be
5         filed electronically (unless exempted under paragraph 4); the burden of accurately designating
6         the documents as sealed at the time of electronic submission is the submitting party's
 7        responsibility.
 8     j) Redaction
 9        Pursuant to CRlifornia Rules of Court, rule 1.201, it is the submitting party's responsibility to
10        redact confidential information (such as using initials for names of minors, using the last four
11        digits of a social security number, and using the year for date of birth) so that the information
12        shall not be publicly displayed.
13   7) ELEL1RONIC FILING SCHEDULE
14     a) Filed Date
15        i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16            shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17            document received electronically on a non-court day, is deemed to have been effectively
18            filed on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code
19            Civ. Proc. § 1010.6(b)(3).)
20        ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21            course because of: (1) an interruption in service; (2) a transmission error that is not the
22            fault of the transmitter, or (3) a processing failure that occurs after receipt, the Court may
23            order, either on its own motion or by noticed motion submitted with a declaration for Court
24            consideration, that the document be deemed filed and/or that the document's filing date
25            conform to the attempted transmission date.

26   8) EX PARTE APPLICATIONS
27     a) Ex parte applications and all documents in support thereof must be electronically filed no later
28        than 10:00 a.m. the court day before the ex pane hearing.

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                      FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC RUNG FOR CIVIL
Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 24 of 37 Page ID #:30
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 1     b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
 2         day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
 3        application must be provided to the court the day of the ex parte hearing.
 4   9) PRINTED COURTESY COPIES
 5     a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
 6         be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
 7         the ailing is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
 8         by 10:00 a.m. the next business day.
 9     b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10        electronic submission) is required for the following documents:
11         i)   Any printed document required pursuant to a Standing or General Order;
12        ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13              pages or more;
14       iii)   Pleadings and motions that include points and authorities;
15       iv)    Demurrers;
16        v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17        vi)   Motions for Summary Judgment/Adjudication; and
18       vii)   Motions to Compel Further Discovery.
19     c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20        additional documents. Courtroom specific courtesy copy guidelines can be found at
21        www.lacourt.org on the Civil webpage under "Courtroom Information."
22   0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23     a) Fees and costs associated with electronic filing must be waived for any litigant who has
24        received a fee waiver. (California Rules of Court, rules 2.253(6)(), 2.258(b), Code Civ. Proc. §
25        1010.6(d)(2).)
26     b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27        section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be
28        electronically filed in any authorized action or proceeding.

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                    FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
 Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 25 of 37 Page ID #:31
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1    1) SIGNATURES ON ELECTRONIC FILING
2       For purposes of this General Order, all electronic filings must be in compliance with California
3       Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
4       Division of the Los Angeles County Superior Court.
5

6           This First Amended General Order supersedes any previous order related to electronic filing,
7    and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
8    Supervising Judge and/or Presiding Judge.
9
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                                                 Coe.
10   DATED: May 3, 2019                                                   C'
                                 I                 yp     KEVIN C. BRAZILE
11
                                                          Presiding Judge
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                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 26 of 37 Page ID #:32




                                   VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                      The Early Organizational Meeting Stipulation, Discovery
                                   Resolution Stipulation, and Motions in Limine Stipulation are
      Superior Own of Cabaret      voluntary stipulations entered Into by the parties. The parties
      Cowley of Lo maims
                                   may enter into one, two, or all three of the stipulations;
           A                       however, they may not alter the stipulations as written,
                                   because the Court wants to ensure uniformity of application.
      Los Alniotas Campy
      Ear Association              These stipulations are meant to encourage cooperation
      PAIRallost Stet=
      Los &vales Comity            between the parties and to assist In resolving Issues in a
      Bar Asactlallon Lab:A-sod
      Etepplopopord lamt Faction   manner that promotes economic case resolution and Judicial
                                   efficiency.

                                       The    following organizations endorse        the goal of
      COMPISMUS Atiamsys
      Assechtlara a? Las Angeles   promoting efficiency in litigation and ask that counsel
                                   consider using these stipulations as a voluntary way to
                                   promote communications and procedures among counsel
                                   and with the court to fairly resolve issues in their cases.

                                   *Los Angeles County Bar ssocietion Litigation Section.
     SoPAPions Calticente
     Defame:teaming&
                                                  Los Angeles County Bar Association
                                                 Labor and Employment Law Section*

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     Butts= Total itawvars             *Consumer Attorneys Association of Los Angeles*


                                             *Southern California Defense Counsel*


                                             *Association of Business Trial Lawyers*
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                                        *California Employment Lawyers Association*


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    SUPERIOR COURT OF CALIFORNIA. COWifY OF LOS ANGFL.RS
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                     STEPULATICK — DISCOVERY RESOLUTION

         This stipulation Is intended to provide a Mall and informal resolution of discovery issues
         through limited paperwork and an informal conference with the Court to aid In the
         resolution of the issues.

         The parties agree that:

         1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
            the moving party first makes a written request for an informal Discovery Conference pursuant
            to the terms of this stipulation.

         2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
            and determine whelier it can be resolved Informally. Nothing set forth herein will preclude a
            party from making a record at the conclusion of an Informal Discovery Conference, either
            may or In writing.

         3. Following a reasonable and good faith attempt al an informal resolution of each issue to be
            presented, a party may request an Informal Discovery Conference pursuant to the following
            procedures:

                  a. The party requesting the informal Discovery Conference will:

                      i.   Fits a Request for Informal Discovery Conference with the clerk's office on the
                           approved form (copy attached) and deliver a courtesy, conformed copy to the
                           assigned department,

                    II.    Include a brief summary of the dispute and specify the relief requested: and

                    iti.   Serve the opposing party pursuant to any authorized or agreed method of service
                           that ensures that the opposing party receives the Request    for Informal Discovery
                           Conference no later than the next court day following the fling.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                     i.    Also be filed on the approved form (copy attached);

                    H.     Include a brief summary of why the requested relief should be denied:
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        LASC Approval 54/t                STOPULATION — DISCOVERY RESOLUTION
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Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 28 of 37 Page ID #:34




                                                                              I   CAS( ICYM31-
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                       Be filed within two (2) court days of receipt of the Request: and

                iv.,   Be served on the opposing party pursuant to any authorized or agreed upon
                       method of service that ensures that the opposing party receives the Answer no
                       later then the next court day following the filing.

          c. No other pleadings, Including but not limited to exhibits, declarations, or attachments, will
             be accepted.

          d. If the Court has not granted or denied the Request for informat Discovery Conference
             within ten (10) days following the filing of the Request, then it shalt be deemed to have
             been denied, if the Court acts on the Request, the parties will be notified whether the
             Request for informal Discovery Conference has been granted or denied and, If granted,
             the date and time of the informal Discovery Conference, which must be within twenty (20)
             days of the filing of the Request for Informal Discovery Conference.

          e. If the conference Is not held within twenty (20) days of the filing of the Request for
             Informal Discovery Conference, unless extended by agreement of the parties and the
             Court, then the Request for the Informal Discovery Conference shall be deemed to have
             been denied at that time,

      4. if (a) the Court has denied a conference or (b) one of the time deadlines above has expired
         without the Court having acted or (c) the Informal Discovery Conference is concluded without
         resolving the dispute, then a party may file a discovery motion to address unresolved issues.

      5. The parties hereby further agree that the time for making a motion to compel or other
         discovery motion is Totted from the date of filing of the Request far Informal Discovery
         Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
         filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
         by Order of the Court.

          It is the understanding and intent of the parties that this stipulation shall, for each discovery
          dispute to which it applies, constitute a writing memorializing a "specific later dale to which
          the propounding [or demanding or requesting] party and the responding party have agreed in
          writing,' within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
          2033,290(c).

      6. Nothing herein will preclude any party from applying ex pale for appropriate relief, Mcturfing
         an order shortening lime for a motion to be heard concerning discovery.

      7, Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
         terminate the stipulation.

      8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
         any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the Grne
         for performing that act shalt be extended to the next Court day.



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          The following parties stipulate:

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          Date:
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Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 30 of 37 Page ID #:36




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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
   aluRNiaNSE ADittaP":


   PLAINT:1PP:


   OEFEM3ANT:

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               STIPULATION — EARLY ORGANIZATIONAL MEETING

          This stipulation is intended to encourage cooperation among the parties at an early stage in
          the litigation and to assist the parties In efficient case resolution.
          The parties agree that:
          1. The parties commit to conduct an Initial conference (in-person or via teleconference or via
             videoconterence) within 15 days from the date this stipulation is signed, to discuss end consider
             whether there can be agreement on the following:
                 a.     Are motions to challenge the pleadings necessary? if the issue can be resolved by
                        amendment as of right, or if the Court would allow leave to amend, could an amended
                        complaint resolve most or all of the Issues a demurrer might otherwise raise? If so, the parties
                        agree to work trough pleading issues so that a demurrer need ordy raise issues they cannot
                        resolve. Is the Issue that the defendant seeks to raise amenable to resolution on demurrer, or
                        would some other type of motion be preferable? Could a voluntary targeted exchange of
                        documents or Information by any party cure an uncertainty In the pleadings?

                 b. Initial mutual exchanges of documents al the 'tore' of the litigation. (For example, In an
                    employment case, ?he employment records, personnel file and documents relating to the
                    conduct In question could be considered score .° in a personal Injury case, an incident or
                    police report, medical records, and repair or maintenance records could be considered
                    `core.');

                 c. Exchange of names and contact information of witnesses;
                 d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                    indemnify or reimburse for payments made la satisfy a judgment

                 e. Exchange of any other Information that might be helpful to facilitate understanding, handling,
                    or resolution of the case in a manner that preserves objections or privileges by agreement

               f. Controlling Issues of law that, if resolved early, will promote efficiency and economy In other
                  phases of the case. Also, when and how such Issues can be presented to the Court

               g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                  court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                  and whether the parties wish to use a sitting judge ar a private mediator or other options as
         LACIV 229 (Rev 021591
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Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 31 of 37 Page ID #:37




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                       discussed in the °Alternative Dispute Resotution (ADR) information Package' served with the
                       complaint;
             h. Computation of damages, Including documents, not privileged or protected from disclosure, on
                which such computation Is based;
             I. Whether the case Is suitable for the Expedited Jury Trial procedures (see information at
                unawisuoutt peg under °Civil' and then under "General Informal/0n').
      2.               The time for a defending party to respond to a complaint or cross-complaint will be extended
                       to                         for the complaint, and                            for the cross-
                                INSERT DATE)                                        (imSEFIT DATE)
                       complaint. which is comprised of the 30 days to respond under Government Code § 68696(6),
                       and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                       been found by the Civil Supervising Judge due to the case management benefits provided by
                       this Stipulation. A copy of the General Order can be found at wynv.lecourtcro under "OW,
                       click on 'General Information°, then click on 'Voluntary Efficient 1.1tfration Stipulations'.
      3.               The parties will prepare a Joint report titled 'Joint Status Report Pursuant to Initial Conference
                       and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                       results of their meet and confer and advising the Court of any way 9t may assist the parties'
                       efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                       the Case Management Conference statement, and file the documents when the CMC
                       statement is due.
      4.               References to 'days- mean calendar days, unless otherwise noied. If the date for performing
                       any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                       for performing that act shall be extended to the next Court day

      The following parties stipulate:
      Dale:

                         (TYPE OR PRINT NAME)                                        (ATTORNEY FOR SAINTiFF)
      Data

                         (TYPE OR PRINT NAME)                                       (ATTORNEY FOR DEFENDANT)
      Dale:

                         I ITrc OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
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      Dale:

                         (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
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    SUPERIOR COURT OF CALIFORNIA,                               OUNTY OF LQa A C.;ELES
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    OEFENDANt.

                                                                                                      CASE( 011titt8P-FL
                        INFORMAL. DISCOVERY CONFERENCE
                  (pursuant to the Discovery Resolution Stipulation of the parties)
         1. This document relates to:
                                   Request for informal Discovery Conference
                                   Answer to Request for informal Discovery Conference
         2. Deadline for Court to decide on Request:                                        {fowl date 10 ca19ndar days (arming &log or
                the IR sweat)
         3. Deadline for Court to hold Informal Discovery Conference:                  (kissd dale 20 otndir
            days rotowiAg nine OF Ons Request).
         4. For a Request for Informal Discovery Conference, brieftv describe the nature of the
            discovery dispute, inciuding the 'facts and legal arguments at Issue. For an Answer to
            Request for Informal Discovery Conference, brietiv describe why the Court shotakl deny
            the requested discovery, including the facts and legal arguments at issue.




        LACY 094 (now)
        LAIC AppltiVatf 04311                  NFORMAL DISCOVERY CONFERENCE
        Far Oplional Use                 (pursuant lo the Discovery Resolution Stipulation of The parties)
Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 33 of 37 Page ID #:39




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    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS A                              COLES
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                    STIPULATION AND ORDER — MOTIONS WI WANE


        This stipulation Is intended to provide fast and informal resolution of evidentiary
        issues through diligent efforts to define and discuss such issues and limit paperwork.


         The parties agree that:

        1. At least       days before the line! status conference, each party will provide ail other
           parties with a list containing a one paragraph explanation of each proposed motion in
           limine. Each one paragraph explanation must identify the substance of a single proposed
           motion In 'inane and the grounds for the proposed motion.

        2. The parties thereafter will meet and confer, either in person or via teleconference or
           videoconference, concerning ail proposed motions in limine. in that meet and confer, the
           parties will determine:

                a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                   stiputats, they may file a stipulation and proposed order with the Court.

                b. Whether any of the proposed motions car be briefed and submitted by means of a
                   short joint statement of Issues. For each motion which can be addressed by a short
                   joint statement of issues, a shod Joint statement of Issues must be filed with the Court
                   10 days prior to the final         conference. Each side's portion of the short joint
                   statement of issues may not exceed three pages. The parties will meet and confer to
                   agree on a date and manner for exchanging the parties respective portions of the
                   short joint statement of issues and the process for filing the short Joint statement of
                   issues.

        3. Ail proposed motions in limine that are not either the subject of a stipulation or briefed via
           a short joint statement of issues wilt be briefed and filed in accordance with the California
           Rules of Court and the Los Angeles Superior Court Rules.



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        For OPBonet Usa                                                                                    Page 1 of
Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 34 of 37 Page ID #:40




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       Dale:

                    (TYPE OR PRINT NAME)                        (ATTORNEY FOR DEFENDANT)
       Date:

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       THE COURT SO ORDERS.

         Date:
                                                                      JUDICIAL OFFICER




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                  Superior Court of California, County of Los Angeles



                        ALTERNATIVE DISPUTE RESOLUTION (ADR)
                               INFORMATION PACKAGE
 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY`WITH THE COMPLAINT.

 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named`to the action
 with the cross-complaint.




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.


Disadvantages of ADR
   •   Costs: If the parties do not resolve their dispute, they may have to pay for ADR and litigation and trial.
   •   No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR:
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
      settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

   2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
      strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
      acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

               Mediation may be appropriate when the parties
                 • want to work out a solution but need help from a neutral person.
                 • have communication problems or strong emotions that interfere with resolution.
               Mediation may not be appropriate when the parties
                 • want a public trial and want a judge or jury to decide the outcome.
                 • lack equal bargaining power or have a history of physical/emotional abuse.



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   For Mandatory Use
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                                     How to arrange mediation in Los Angeles County

   Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

            a. The Civil Mediation Vendor Resource List
               If all parties agree to mediation, they may contact these organizations to request a "Resource List
               Mediation" for mediation at reduced cost or no cost (for selected cases):

                •   ADR Services, Inc. Case Manager patricia@adrservices.com (310) 201-0010 (Ext. 261)
                •   JAMS, Inc. Senior Case Manager mbinder@iamsadr.corn (310) 309-6204
                •   Mediation Center`of Los Angeles (MCLA) Program Manager info@mediationLA.org (833) 476-9145
                       o Only MCLA provides mediation in person, by phone and by videoconference.

           These;organizations cannot accept every case and they may decline cases at their discretion.
              Visit www.lacourt.org/ADR.Res.List forimportant information and FAQs before contacting them.
              NOTE: This program does not accept family law, probate, or small claims cases.

           b. Lo; Angeles County Dispute Resolution Programs
              https:fiwdacslacounty.gov/programs/drp/
                  • Small claims, unlawful detainers (evictions) and, at the Spring Street Courthouse, limited civil:
                         o Free, day- of-trial mediations at the courthouse. No appointment needed.
                         o Free or low-cost mediations before the day of trial.
                         o For free or low-cost Online Dispute Resolution (ODR) by phone or computer before the
                             day:of trial visit
                             http://www.lacourt.org/divisionismallclaims/pdf/OnfineDisputeResolutionFlyer
                             EngSpan.pdf

           c. Mediators and ADR and Bar organizations that provide mediation may be found on the Internet.




    3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and arguments to the
       person who decides the outcome. In "binding" arbitration, the arbitrator's decision is final; there is no right to
       trial. In "nonbinding" arbitration, any party can request a trial after the arbitrator's decision. For more
       information about arbitration, visit http://www.courts.ca.gov/programs-adr.htm

    4. Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close to the trial
       date or on the day of trial. The parties and their attorneys meet with a judge or settlement officer who does not
       make a decision but assists the parties in evaluating the strengths and weaknesses of the case and in negotiating
       a settlement. For information about the Court's MSC programs for civil cases, visit
       http://www.lacourt.orddivision/civil/C10047.aspx


Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/C10109.aspx
For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm



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For Mandatory Use



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       Case 2:20-cv-11232-DSF-E Document 1-1 Filed 12/10/20 Page 37 of 37 Page ID #:43
                                                                                                      Reserved for Clerk’s File Stamp
              SUPERIOR COURT OF CALIFORNIA
                 COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
 PLAINTIFF:
 Orlando Garcia
 DEFENDANT:
 Morning View Hotels-BH I, LLC, a Delaware Limited Liability Company
                                                                                               CASE NUMBER:
              NOTICE OF CASE MANAGEMENT CONFERENCE                                             20STCV42107
TO THE PLAINTIFF(S)/ATTORNEY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve this notice of hearing on all parties/attorneys of record forthwith, and meet and confer with all
parties/attorneys of record about the matters to be discussed no later than 30 days before the Case Management Conference.
Your Case Management Conference has been scheduled at the courthouse address shown above on:

                                     Date:                     Time:                  Dept.:
                                             03/18/2021                8:30 AM                  51

NOTICE TO DEFENDANT:            THE SETTING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
                                  DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAW.

Pursuant to California Rules of Court, rules 3.720-3.730, a completed Case Management Statement (Judicial Council form #
CM-110) must be filed at least 15 calendar days prior to the Case Management Conference. The Case Management Statement
may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record. You must be familiar with the
case and be fully prepared to participate effectively in the Case Management Conference.

At the Case Management Conference, the Court may make pretrial orders including the following, but not limited to, an order
establishing a discovery schedule; an order referring the case to Alternative Dispute Resolution (ADR); an order reclassifying the
case; an order setting subsequent conference and the trial date; or other orders to achieve the goals of the Trial Court Delay
Reduction Act (Gov. Code, § 68600 et seq.)

Notice is hereby given that if you do not file the Case Management Statement or appear and effectively participate at the Case
Management Conference, the Court may impose sanctions, pursuant to LASC Local Rule 3.37, Code of Civil Procedure
sections 177.5, 575.2, 583.150, 583.360 and 583.410, Government Code section 68608, subdivision (b), and California Rules of
Court, rule 2.2 et seq.


        11/04/2020
Dated: ________________________                                                  ________________________________
                                                                                           Judicial Officer

                                                    CERTIFICATE OF SERVICE

I, the below named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a party to the cause
herein, and that on this date I served the Notice of Case Management Conference upon each party or counsel named below:

                                                                  Los Angeles
    by depositing in the United States mail at the courthouse in _______________________,   California, one copy of the original
    filed herein in a separate sealed envelope to each address as shown below with the postage thereon fully prepaid.

    by personally giving the party notice upon filing of the complaint.
     Russell Clive Handy
     8033 Linda Vista Road, Suite 200
     San Diego, CA 92111
                                                                           Sherri R. Carter, Executive Officer / Clerk of Court

        11/04/2020
Dated: __________________                                                                                A. Alba
                                                                                                     By ________________________
                                                                                                                 Deputy Clerk
LACIV 132 (Rev. 07/13)                                                                                        Cal. Rules of Court, rules 3.720-3.730
LASC Approved 10-03
                                          NOTICE OF                                                           LASC Local Rules, Chapter 7KUHH
For Optional Use                CASE MANAGEMENT CONFERENCE
